Case
Case 2:24-cv-10354-WLH-SK
     2:23-cv-10126-HDV-SSC Document
                            Document27-2
                                     33            Filed
                                                   Filed 07/22/24
                                                         05/09/25   Page
                                                                    Page 11 of
                                                                            of 33 Page
                                                                                  Page ID
                                                                                        ID
                                  #:107
                                  #:129



  1 THOMAS F. LANDERS [SBN 207335]
    tlanders@swsslaw.com
  2 SOLOMON WARD SEIDENWURM & SMITH, LLP
    401 B Street, Suite 1200
  3 San Diego, California 92101
    (t) 619.231.0303
  4 (f) 619.231.4755
  5 Attorneys for Defendants,
    MIDLAND CREDIT MANAGEMENT,
  6 INC. and MIDLAND FUNDING LLC
  7 ARTIS-RAY CASH, JR.
    artiscashjr@yahoo.ocm
  8 453 Spring Street
    Suite 400 PMB 1211
  9 Los Angeles, CA 90013
    Ph: (831) 346-2562
 10
    Plaintiff IN PRO PER
 11
 12
 13                                UNITED STATES DISTRICT COURT
 14                              CENTRAL DISTRICT OF CALIFORNIA
 15                              WESTERN DIVISION – LOS ANGELES
 16
 17 ARTIS-RAY CASH, JR.,                            Case No. 2:23-cv-10126-HDV-SSC
 18                                                 NOTICE OF SETTLEMENT
                          Plaintiff,                BETWEEN PLAINTIFF AND
 19                                                 DEFENDANTS MIDLAND CREDIT
                v.                                  MANAGEMENT, INC. AND
 20                                                 MIDLAND FUNDING, LLC
    MIDLAND CREDIT
 21 MANAGEMENT, INC.;
    MIDLAND FUNDING, LLC,                           Hearing Date: July 2, 2024
 22                                                 Hearing Time: 10:00 a.m.
 23                       Defendants.               Judge: Hernan D. Vera
 24                                                 Magistrate Judge: Stephanie S.
                                                    Christensen
 25
 26
 27
 28                                      EXHIBIT B
                                            9
      P:01745615.1:87025.535                     -1-                Case No. 2:23-cv-10126-HDV-SSC
                                          NOTICE OF SETTLEMENT
Case
Case 2:24-cv-10354-WLH-SK
     2:23-cv-10126-HDV-SSC Document
                            Document27-2
                                     33               Filed
                                                      Filed 07/22/24
                                                            05/09/25   Page
                                                                       Page 22 of
                                                                               of 33 Page
                                                                                     Page ID
                                                                                           ID
                                  #:108
                                  #:130



  1
                 Plaintiff Artis-Ray Cash, Jr. and Defendants Midland Credit Management, Inc.
  2
      and Midland Funding, LLC hereby notify the Court that they have settled all claims
  3
      between them in this matter. The parties are in the process of completing the
  4
      settlement documents and filing the dismissal which may take up to 60 days. The
  5
      parties request that a settlement disposition conference be scheduled in approximately
  6
      60 days.
  7
      DATED: July 22, 2024                  SOLOMON WARD SEIDENWURM &
  8                                         SMITH, LLP
  9
 10                                         By:      /s/ Thomas F. Landers
 11                                               THOMAS F. LANDERS
                                                  Attorneys for Defendants,
 12                                               MIDLAND CREDIT MANAGEMENT, INC.
 13                                               and MIDLAND FUNDING LLC
 14
      DATED: July 22, 2024
 15                                         By:      /s/ Artis-Ray Cash, Jr.
 16                                               ARTIS-RAY CASH, Jr.
 17                                               Plaintiff IN PRO PER

 18                                       ATTESTATION
 19             Pursuant to Central District Local Civil Rules, L.R. 5-4.3.4, I hereby certify
 20 that the content of this document is acceptable to counsel for Plaintiff and that I have
 21 obtained his authorization to affix his electronic signature to this document.
 22 DATED: July 22, 2024                    SOLOMON WARD SEIDENWURM &
 23                                         SMITH, LLP
 24
 25                                         By:  /s/ Thomas F. Landers
                                              THOMAS F. LANDERS
 26                                           Attorneys for Defendants,
 27                                           MIDLAND CREDIT MANAGEMENT, INC.
                                              and MIDLAND FUNDING LLC
 28                                     EXHIBIT B
                                           10
      P:01745615.1:87025.535                    -1-               Case No. 2:23-cv-10126-HDV-SSC
                                         NOTICE OF SETTLEMENT
Case
Case 2:24-cv-10354-WLH-SK
     2:23-cv-10126-HDV-SSC Document
                            Document27-2
                                     33               Filed
                                                      Filed 07/22/24
                                                            05/09/25   Page
                                                                       Page 33 of
                                                                               of 33 Page
                                                                                     Page ID
                                                                                           ID
                                  #:109
                                  #:131



  1                                 CERTIFICATE OF SERVICE
  2             I hereby certify that on this 22nd day of July, 2024, I electronically filed the
  3 following document:
  4             1.        NOTICE OF SETTLEMENT
  5 with the Clerk of the Court using the CM/ECF system and a copy of this document
  6 and the Notice of Electronic Filing were served via U.S. Mail and Email on the
  7 following non-CM/ECF participants:
  8        Artis-Ray Cash, Jr.                          Plaintiff IN PRO PER
           453 S. Spring Street
  9        Suite 400 PMB 1211
           Los Angeles, CA 90013
 10        artiscashjr@yahoo.com
 11
 12
 13                                                  Woody L Doolittle
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28                                      EXHIBIT B
                                            11
      P:01745615.1:87025.535                     -2-                    Case No. 2:23-cv-10126-HDV-SSC
                                           NOTICE OF SETTLEMENT
